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IN THE uNITED sTATEs nrsTRIcT couRT w m
FoR THE wEsTERN DISTRICT oF TENNESSEE GSJUNZZ PH 31|-

WESTERN DIVISION

 

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W.D. OF TN, MEMPH|S

UNITED STATES OF AMERICA,
Plaintiff,

v. No. 04-2921 Ml/P
NINE THOUSAND FOUR HUNDRED
FoRTY noLLARs ($9,440.00), IN
UNITED STATES CURRENCY and

AS SCRTED JEWELRY ,

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Defendants.

 

ORDER DENYING WITHOUT PREJUDICE MOTION TO LIFT STAI

 

Before the Court is the Motion to Lift Stay of All
Proceedings Pending the Outcome of Related Criminal Case of
Defendants $9,440.00 in United States Currency and Assorted
Jewelry, filed June 2, 2005. Plaintiff responded in opposition
on June 20, 2005.

On March 22, 2005, this case was stayed at Plaintiff’s
request pending the outcome of a related criminal case, United
States v. Brandon Williams, No. 04-20422-B (W.D. Tenn. filed
October 6, 2004). Defendants move to lift the stay because the
defendant in that related criminal case has entered a guilty
plea. However, because that defendant has yet to be sentenced, a
lift of the stay at this point would be premature. Defendants'

motion is therefore DENIED, without prejudice. Defendants may

T‘..is document entered on ihe docket sheet in compliance
with Ru!e 58 and/or ?9(3) FF\CF' on

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move to lift the stay in this case after the defendant in the

related criminal case has been sentenced.
so oRDEREo this 521 day of June, 2005.

. gmch

JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
ease 2:04-CV-02921 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable J on MeCalla
US DISTRICT COURT

